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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 UNITED STATES OF AMERICA and
 the STATES OF CALIFORNIA, COLORADO,
 CONNECTICUT, DELAWARE,
 FLORIDA, GEORGIA, HAWAII, ILLINOIS,
 INDIANA, IOWA, LOUISIANA, MARYLAND,
 MICHIGAN, MINNESOTA, MONTANA,
 NEVADA, NEW JERSEY, NEW MEXICO,
 NEW YORK, NORTH CAROLINA, OKLAHOMA,
 RHODE ISLAND, TENNESSEE, TEXAS,
 WASHINGTON, WISCONSIN, and the
 COMMONWEALTHS OF MASSACHUSETTS
 and VIRGINIA, and the DISTRICT OF COLUMBIA,
 ex rel. Benjamin A. Van Raalte, M.D.,
 Michael J. Cascio, M.D., and John J. Murtaugh,

        Plaintiffs,                                   Case No. 6:14-cv-283-Orl-31GJK

 v.

 HEALOGICS, INC.,

       Defendant.
 _________________________________/

                                  NOTICE OF SETTLEMENT

         Pursuant to Local Rule 3.08, the United States respectfully submits this Notice of

 Settlement advising the Court of the resolution of this matter. The United States; Defendant

 Healogics, Inc.; Relators Benjamin A. Van Raalte, M.D., Michael J. Cascio, M.D., and John J.

 Murtaugh; and the relator in United States ex rel. Wilcox v. Healogics, Inc. et al., No. 15-cv-

 1510-Orl-41DAB (M.D. Fla.) entered into a final settlement agreement that resolved both

 matters on June 5, 2018.



 Dated: June 28, 2018                          Respectfully submitted,
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                                              CHAD A. READLER
                                              Acting Assistant Attorney General
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                                              MARIA CHAPA LOPEZ
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 28th day of June, 2018, a true and correct copy of the

 foregoing was served via CM/ECF, to all counsel of record.

                                                      /s/ Jeremy R. Bloor
                                                      Jeremy R. Bloor
                                                      Assistant United States Attorney




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